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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 In re APPLICATION OF THE COMMITTEE
 ON THE JUDICIARY, U.S. HOUSE OF    Grand Jury No. 19-48 (BAH)
 REPRESENTATIVES, FOR AN ORDER
 AUTHORIZING THE RELEASE OF         Chief Judge Beryl A. Howell
 CERTAIN GRAND JURY MATERIALS




      ORDER GRANTING THE APPLICATION OF THE COMMITTEE ON THE
              JUDICIARY, U.S. HOUSE OF REPRESENTATIVES

       Upon consideration of the Application of the Committee on the Judiciary (“HJC”), U.S.

House of Representatives, for an Order Authorizing the Release of Certain Grand Jury Materials,

ECF No. 1.; the memoranda and declarations, with exhibits, in support and opposition thereto,

including the memoranda of amici curiae Constitutional Accountability Center and U.S. House

Representative Doug Collins, HJC’s Ranking Member; the arguments presented at the Hearing

on October 8, 2019, see Hr’g Tr., ECF No. 38, and the entire record herein, for the reasons stated

in the accompanying Memorandum Opinion Granting the Application of the Committee on the

Judiciary, U.S. House of Representatives, it is hereby:

       ORDERED that HJC’s Application is GRANTED; and it is further

       ORDERED that, by October 30, 2019, DOJ must disclose to HJC: (1) All portions of

Special Counsel Robert S. Mueller III’s Report on the Investigation Into Russian Interference In

The 2016 Presidential Election (“Mueller Report”) that were redacted pursuant to Federal Rule

of Criminal Procedure 6(e); and (2) any underlying transcripts or exhibits referenced in the

portions of the Mueller Report that were redacted pursuant to Rule 6(e); and it is further




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       ORDERED that, following review and assessment of the disclosed grand jury material

set out in (1) and (2) above, HJC may submit further requests articulating particularized need for

disclosure of additional grand jury material requested in the Application.

       SO ORDERED.

       DATE: October 25, 2019

       This is a final and appealable order.



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                                                     BERYL A. HOWELL
                                                     Chief Judge




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